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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-2989-MDL-ALTONAGA/Torres

   In re:

   JANUARY 2021 SHORT SQUEEZE
   TRADING LITIGATION
   _________________________________/

   This Document Relates to the Actions in the
   Other Broker Tranche

                                               ORDER

            THIS CAUSE came before the Court sua sponte. On June 2, 2022, the Judicial Panel on

   Multidistrict Litigation (JPML) entered a Transfer Order [ECF No. 475] transferring the action

   styled Chavez v. Apex Clearing Corporation, No. 1:22-cv-01233 (S.D.N.Y. 2022), to this Court

   for consolidated pretrial proceedings. (See Transfer Order 3). As the JPML observed, the Court

   previously entered an Order dismissing an action involving the same claims and same parties as

   the transferred case. (See id. 2; Jan. 10, 2022 Order [ECF No. 450]). Collectively, those parties

   and claims comprised the “Other Broker Tranche” previously created by the Court to facilitate

   pretrial proceedings. (See May 18, 2021 Order [ECF No. 310] 1–2).

            Accordingly, it is ORDERED that the newly transferred action (Chavez v. Apex Clearing

   Corporation, No. 1:22-cv-21747 (S.D. Fla. 2022)) shall again comprise the “Other Broker

   Tranche,” with the parties and attorneys therein assuming the same positions that they occupied

   prior to the January 10, 2022 Order [ECF No. 450] dismissing the case without prejudice. The

   parties and attorneys are required to comply with all previously entered Orders on the MDL docket

   (Civil Action No. 21-md-02989).       Plaintiffs, Erik Chavez and Peter Jang, shall file their
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   Complaint 1 on the MDL docket on or before June 10, 2022.               Defendant, Apex Clearing

   Corporation shall file its response to the Complaint on or before June 17, 2022. If Defendant files

   a motion to dismiss, the parties shall brief the motion in accordance with the requirements of,

   including the time limits set by, the Local Rules.

          DONE AND ORDERED in Miami, Florida, this 8th day of June, 2022.



                                                    ________________________________________
                                                    CECILIA M. ALTONAGA
                                                    CHIEF UNITED STATES DISTRICT JUDGE

   cc:    counsel of record;
          Pro Se Plaintiffs




   1
    The Complaint is currently on file in the member case. (See Chavez v. Apex Clearing Corp., No. 1:22-
   cv-21747, Compl. [ECF No. 4] filed Feb. 15, 2022 (S.D. Fla. 2022)).
                                                    2
